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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

EUGENE FRED ELFRANK,                            §
    ID # 07783-510,                             §
           Petitioner,                          §
                                                §
v.                                              §        No. 3:24-CV-2865-D
                                                §
VOA/AG of the USA,                              §
            Respondents.                        §

                                            ORDER

       After reviewing all relevant matters of record in this case, including the findings, conclu-

sions, and recommendation of the United States Magistrate Judge, in accordance with 28 U.S.C.

§ 636(b)(1), the court is of the opinion that the findings and conclusions of the magistrate judge

are correct, and they are adopted as the findings and conclusions of the court. For the reasons

stated in the findings, conclusions, and recommendation of the United States Magistrate Judge,

the court will, by separate judgment, dismiss petitioner’s claims challenging his sentence and

conviction in the Petition for Writ of Habeas Corpus Under 28 U.S.C. § 2241, received on

November 12, 2024 (Dkt. No. 3), without prejudice for lack of jurisdiction, and dismiss

petitioner’s claim regarding his release to home confinement without prejudice for failure to

exhaust available remedies.
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       A certificate of appealability (COA) is not required to appeal the denial of relief under 28

U.S.C. § 2241. See Padilla v. United States, 416 F. 424, 425 (5th Cir. 2005). If petitioner files a

notice of appeal, he must pay the $605.00 appellate filing fee or submit a motion to proceed in

forma pauperis.

       SO ORDERED.

       January 24, 2025.


                                             ____________________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE
